324 F.2d 373
    Elissa NOLFI, a minor, by Philomena Nolfi Mangine, herguardian and Philomena Nolfi Mangine, in her ownright, and Richard Reading, Plaintiffs,v.CHRYSLER CORPORATION, a corporation, Defendant andThird-Party Plaintiff, v. Mary DUCSAY, formerly Mary Drain,and Alex Drain, and Mt. Lebanon Motors, Inc., a PennsylvaniaCorp., Third-Party Defendants.Mary DUCSAY, formerly Mary Drain, and Alex Drain,Individuals, Plaintiffs,v.CHRYSLER CORPORATION, a corporation, Defendant andThird-Party Plaintiff, v. MT. LEBANON MOTORS,INC., a Pennsylvania Corporation,Third-Party Defendant.Mt. Lebanon Motors, Inc., Appellant.
    No. 14409.
    United States Court of Appeals Third Circuit.
    Argued Oct. 24, 1963.Decided Nov. 7, 1963.
    
      Before STALEY and GANEY, Circuit Judges, and NEALON, District Judge.
      PER CURIAM.
    
    
      1
      Mt. Lebanon Motors, Inc., a third-party defendant in two separate civil actions arising out of the same automobile accident, has appealed from an order of the district court denying its motion to consolidate the actions.  The appeal must be dismissed, for the order denying consolidation is clearly interlocutory in character, see Travelers Indemnity Co. v. Miller Mfg. Co., 276 F.2d 955 (C.A. 6, 1960); Skirvin v. Mesta, 141 F.2d 668, 671-672 (C.A. 10, 1944); 5 Moore's Federal Practice 1204, and is not within that class of interlocutory orders made appealable by 28 U.S.C. 1292.  Nor does the instant order involve rights so separable from and collateral to rights asserted in the principal actions as to make it appealable under the doctrine of Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541, 69 S.Ct. 1221, 93 L.Ed. 1528 (1949).  Compare, McAlister v. Guterman, 263 F.2d 65 (C.A.2, 1958).
    
    
      2
      The appeal will be dismissed.
    
    